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                        Case 1:21-cr-00399-RDM Document 201 Filed 09/20/23 Page 1 of 3




                                            UNITED STATES DISTRICT COURT

                                            FOR THE DISTRICT OF COLUMBIA

                                                             )
             UNITED STATES OF AMERICA                        )
                                                             )
                Plaintiff,                                   )
                                                             ) Case No: 21-CR-00399-RDM
                v.                                           )
                                                             )
             ROMAN STERLINGOV,                               )
                                                             )
               Defendant.                                    )
                                                             )
                                                             )


                             MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE


                     Pursuant to Civil Local Rule 83.2(c)(2), sponsoring attorney Jesselyn Radack moves for the

             admission and appearance of attorney Tauseef S. Ahmed pro hac vice in the above-entitled

             action for Defendant Roman Sterlingov. This motion is supported by the Declaration of Tauseef

             S. Ahmed, filed herewith. As set forth in Mr. Ahmed’s declaration, he is admitted and an active

             member in good standing with the following courts and bars: the New York Bar, New Jersey

             Bar, U.S. District Court for the Eastern District of New York, U.S. District Court for the

             Southern District of New York, and the U.S. District Court for the Northern District of New

             York. This motion is supported and signed by myself, Jesselyn Radack, an active and sponsoring

             member of the Bar of this Court.
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                       Case 1:21-cr-00399-RDM Document 201 Filed 09/20/23 Page 2 of 3



                               20
                   Dated this ______ day of September, 2023.

                   Respectfully submitted,

                   ____________________________
                  Jesselyn Radack
                  District Court of District of Columbia Bar # 452987
                  Sponsoring Attorney
        Case 1:21-cr-00399-RDM Document 201 Filed 09/20/23 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of September 2023, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Tor Ekeland

U.S. Department of Justice
District of Columbia
555 Fourth St. N.W.
Washington, D.C. 20530

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